              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 2:12-cv-00094-MR
              (CRIMINAL CASE NO. 2:09-cr-00029-MR-1)


ALBERT ESPINOZA,            )
                            )
              Petitioner,   )
                            )               MEMORANDUM OF
     vs.                    )               DECISION AND ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
___________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion under 28,

United States Code, Section 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody [Doc. 1]. For the reasons that follow, the

Court will deny and dismiss the petition.

I.     PROCEDURAL HISTORY

       On January 21, 2010, Petitioner pled guilty pursuant to a written plea

agreement to conspiracy to possess with intent to distribute at least 1000

kilograms of marijuana, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846.

[Criminal Case No. 2:09-cr-00029-MR-1: Doc. 94: Plea Agreement; Doc. 98:

Entry and Acceptance of Guilty Plea].         Petitioner agreed in the plea

agreement to cooperate by providing truthful testimony and information, and



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he waived all rights to contest his conviction and sentence, except for claims

of ineffective assistance of counsel or prosecutorial misconduct. [Id., Doc.

94 at 5; 6]. The waiver included any objections and rights to appeal or

collaterally attack the Government’s determination that he failed to provide

substantial information or that he knowingly provided false information. [Id.

at 8]. The plea agreement also provided that the Government had the sole

discretion to determine whether Petitioner provided substantial assistance

warranting a motion for a departure pursuant to U.S.S.G. § 5K1.1, and

whether Petitioner knowingly provided false information. [Id.]. Finally, the

plea agreement stated that, regardless of any substantial assistance, “the

United States will not move for a reduction in sentence and may seek an

increased sentence if the defendant knowingly furnishes materially false

information.” [Id.].

      Before sentencing, the Government filed a motion for a downward

departure pursuant to U.S.S.G. § 5K1.1 based on Petitioner’s substantial

assistance.    [Id., Doc. 150: Motion for Downward Departure].            After

Petitioner’s testimony at sentencing, however, and based on the

Government’s determination that he made false statements therein, the

Government withdrew the motion and sought a two-level increase for

obstruction of justice under U.S.S.G. § 3C1.1.        [Id., Doc. 182 at 91:

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Sentencing Hearing]. This Court allowed the withdrawal of the § 5K1.1

motion but denied the increase for obstruction of justice.           The Court

sentenced Petitioner within the advisory Guidelines sentencing range to 210

months of imprisonment. [Id., Doc. 182 at 93; 100; Doc. 161: Judgment].

     Petitioner appealed, arguing that the Government breached the plea

agreement by withdrawing its U.S.S.G. § 5K1.1 motion, that counsel

provided ineffective assistance at sentencing, and that this Court committed

four sentencing errors. In response, the Government argued that Petitioner

validly waived the right to appeal his conviction and sentence, that the

Government did not breach the plea agreement, and that Petitioner’s

ineffective assistance of counsel claim was not supported by the record and

was, therefore, not cognizable on direct appeal. On December 12, 2011, the

Fourth Circuit Court of Appeals dismissed Petitioner’s appeal in an

unpublished, per curiam opinion. United States v. Espinoza, 457 F. App’x

241 (4th Cir. 2011). As to Petitioner’s claim that the Government breached

the plea agreement, the Fourth Circuit stated as follows:

           Espinoza does not challenge the validity of his plea
           or the waiver of his right to appeal. Instead, Espinoza
           contends that the appeal waiver is unenforceable
           because the Government breached the plea
           agreement containing the waiver by withdrawing its
           USSG § 5K1.1 motion and seeking sentencing
           enhancements. United States v. Cohen, 459 F.3d
           490, 495 (4th Cir. 2006).
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            Our review of the record and the plain language of
            the plea agreement lead us to conclude that the
            Government acted within its discretion and did not
            breach the plea agreement. Wade v. United States,
            504 U.S. 181, 184-87, 112 S.Ct. 1840, 118 L.Ed.2d
            524 (1992) (in absence of cooperation agreement,
            Government's decision regarding § 5K1.1 motion is
            reviewed to determine whether it was based on an
            unconstitutional motive); United States v. Hartwell,
            448 F.3d 707, 718 (4th Cir. 2006). Because there
            was no breach, the waiver of appeal is valid and
            enforceable as to all substantive sentencing issues
            asserted by Espinoza. Accordingly, we dismiss that
            portion of Espinoza's appeal.

Id. at *1. Finding no conclusive evidence of ineffective assistance of counsel,

the Fourth Circuit declined to address Petitioner’s ineffective assistance of

counsel claim. Id. at *2. Petitioner did not file a petition for writ of certiorari

with the U.S. Supreme Court.

      Petitioner placed the instant petition in the prison mailing system on

September 26, 2012, and it was stamp-filed in this Court on December 11,

2012. [Doc. 1]. In the § 2255 petition, Petitioner again argues that the

Government breached the plea agreement by withdrawing its motion for

downward departure based on substantial assistance and that trial counsel

was ineffective for failing to move to withdraw Petitioner’s guilty plea based

on the Government’s alleged breach of the plea agreement.




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II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings”

in order to determine whether a petitioner is entitled to any relief. After

having considered the record in this matter, the Court finds that no response

is necessary from the United States. Further, the Court finds that this matter

can be resolved without an evidentiary hearing. See Raines v. United States,

423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         As noted above, Petitioner claims that the Government breached the

plea agreement by withdrawing its motion for downward departure based on

substantial assistance. Petitioner is barred from bringing this current claim

because, as the Fourth Circuit concluded, such claim is barred by the plea

waiver in Petitioner’s plea agreement. The Fourth Circuit also concluded

that, in any event, the Government did not breach the plea agreement.1 See

Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976) (stating

that a petitioner may not “recast, under the guise of collateral attack,



1  That is, in determining whether the plea waiver was enforceable, the court first had to
adjudicate the substantive claim of breach of the plea agreement itself.
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questions fully considered” on direct appeal). Accordingly, Petitioner’s claim

is barred and, as the Fourth Circuit already held, without merit.

        Next, given that the Government did not breach the plea agreement,

Petitioner’s counsel was not ineffective for failing to move to withdraw

Petitioner’s guilty plea based on the alleged breach.        Thus, Petitioner’s

ineffective assistance of counsel claim also fails.

IV.     CONCLUSION

        For the reasons stated herein, the Court will dismiss the § 2255

petition.

        The Court finds that the Petitioner has not made a substantial showing

of a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2);

see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy

§ 2253(c), a “petitioner must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or

wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner

has failed to demonstrate both that this Court’s dispositive procedural rulings

are debatable, and that his Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.




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See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.



                                ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s § 2255 motion [Doc.

1] is DENIED AND DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.             Signed: May 20, 2014




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